Filed 8/27/24 City of Los Angeles v. Great Basin Unified Air Pollution Control Dist. CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----




 CITY OF LOS ANGELES,                                                                          C098351

                    Plaintiff and Respondent,                                       (Super. Ct. No. 34-2013-
                                                                                   80001451-CU-WM-GDS)
           v.

 GREAT BASIN UNIFIED AIR POLLUTION
 CONTROL DISTRICT,

                    Defendant and Appellant.




         This case arises out of a longstanding and ongoing dispute between plaintiff City
of Los Angeles (City) and defendant Great Basin Unified Air Pollution Control District
(District), which is responsible for requiring the City to undertake “reasonable measures
. . . to mitigate the air quality impacts” of its water diversion activities. (Health &amp; Saf.




                                                             1
Code, § 42316.)1 The parties’ dispute involves the District’s efforts to require the City to
implement air pollution control measures at the Owens Lake bed, which is situated
between the towns of Lone Pine and Olancha in Inyo County. The City had used Owens
Lake as a water source for many years, causing large parts of the lakebed to become
exposed, and resulting in dry saline soils and crusts that became the source of wind-borne
dust during significant wind events.
       In 2014, the parties entered into a stipulated judgment (2014 judgment or
stipulated judgment) to resolve the City’s various challenges to District orders. Among
other provisions, the 2014 judgment provided for a procedure by which ordered dust
control measures could be deferred, and then reordered for control, in areas where
significant Tribal cultural resources had been found. The 2014 judgment authorized the
parties to bring motions in Sacramento County Superior Court to challenge conduct
violating the terms of the judgment or to enforce its terms.
       In 2021, the District issued an order (2021 District order) requiring the City to
implement dust control measures in the Sibi Patsiata-wae-tü area, a five-acre area in
Owens Lake that had previously been deferred, but that the District was reordering for
control.
       The City filed a motion to enforce the 2014 judgment, arguing that the District’s
order did not comply with the terms of the judgment because it ordered controls not
authorized by the 2014 judgment. The trial court denied the City’s motion (first ruling),
concluding in part that the 2014 judgment was unenforceable as to the Sibi Patsiata-wae-
tü area because the parties had not agreed about what dust controls the District could
order in areas that had been deferred and then reordered for control.




1 Further undesignated statutory references are to the Health and Safety Code.



                                             2
       Several months after the trial court’s first ruling, and due to the City’s continued
refusal to comply with the terms of the 2021 District order, the District filed its own
motion to enforce the 2014 judgment. That motion raised issues the trial court had
addressed in its first ruling, including issues the court concluded it could not address
based on the other conclusions reached in that ruling. Accordingly, the trial court denied
the District’s motion (second ruling), referring to and summarizing the reasoning and
conclusions it reached in its first ruling.
       The District appeals from the trial court’s second ruling. However, we conclude
that the District’s motion, denied in the second ruling, is properly construed as a motion
for reconsideration. As such, its denial is not appealable. Accordingly, we dismiss the
District’s appeal as an appeal from a nonappealable order.
                              FACTS AND PROCEEDINGS
       Factual Background
       Under the federal Clean Air Act (42 U.S.C. § 7401 et seq.), the United States
Environmental Protection Agency (EPA) is charged with identifying air pollutants and
setting National Ambient Air Quality Standards, identifying areas that do not meet those
standards, and directing the creation of state implementation plans (implementation
plans) to obtain compliance with the standards. (42 U.S.C. § 7410.) The California Air
Resources Board (Board) is responsible for meeting air quality standards through 35 air
pollution control districts (Health &amp; Saf. Code, § 39500), of which the District is one (id.,
§§ 40000 et seq.).
       The District is responsible for requiring air pollution controls from the Owens
Lake bed. In 1983, the Legislature enacted section 42316, which authorized the District
to require the City to undertake “reasonable measures . . . to mitigate the air quality
impacts of its activities in the production, diversion, storage, or conveyance of water and
may require the city to pay, on an annual basis, reasonable fees, based on an estimate of
the actual costs to the district of its activities associated with the development of the

                                               3
mitigation measures and related air quality analysis with respect to those activities of the
city.” (§ 42316, subd. (a).) Subdivision (b) of section 42316 provides that the City “may
appeal any measures or fees imposed by the district to the [Board] within 30 days of the
adoption of the measures or fees.”
       In 1987, the EPA determined that the Owens Valley Planning Area, which
contains Owens Lake, did not meet federal air quality standards for particulate matter less
than 10 microns in diameter,2 a designated pollutant under the Clean Air Act. In 1993,
the EPA classified the area as a “serious nonattainment area” for such particulate matter.
       The City subsequently implemented dust control measures at the Owens Lake bed
pursuant to various implementation plans, supplemental control requirements
determinations (supplemental determinations), and a settlement agreement between the
parties to resolve a dispute over a 2005 order issued by the District for additional air
pollution controls. In 2011 and 2012, the District issued supplemental determinations
requiring the City to install additional dust control measures on approximately 3.62
square miles of dried Owens Lake bed. These were known as the phase 9 and phase 10
dust control areas.
       The City appealed the 2011 supplemental determination to the Board, and after the
Board affirmed, it petitioned for writ of mandate in the Los Angeles County Superior
Court. That action was transferred to the Sacramento County Superior Court. The City
also appealed the 2012 supplemental determination to the Board, which remained
pending at the time of the 2014 judgment, to which we now turn.




2 This particulate matter is known as “PM10.” (See, e.g., 40 C.F.R. § 50.6 (2006).)
Pursuant to the federal standard, such particulate matter must not exceed 150 micrograms
per cubic meter during a 24-hour period more than one time per calendar year, averaged
over three years. (40 C.F.R. § 50.6(a) (2006).) Under California’s standard,
concentrations may not exceed 50 micrograms per cubic meter over a 24-hour period.
(Cal. Code Regs., tit. 17, § 70200.)

                                              4
       The 2014 Judgment
       In 2014, before the trial court issued its final ruling and order on the City’s writ
petition, the parties entered into a stipulated judgment to resolve their pending disputes.
       Paragraphs 2 and 3 of the 2014 judgment required the City to complete previously
ordered dust control projects, and it authorized the District to order dust controls on a
limited amount of additional Owens Lake bed area. Paragraph 2.A required the City to
“construct a dust control project to complete the Phase 9 and Phase 10 dust controls” by
installing “best available control measures” --defined to include “shallow flooding,”
“managed vegetation,” and “gravel cover”--bringing the total area of the City’s dust
controls on the Owens Lake bed to 48.6 square miles.3 Paragraph 15 provided for daily
penalties to be assessed for each missed dust control measure completion deadline set
forth in paragraph 2.A.
       Paragraph 3.A authorized the District, after January 1, 2016, to order the City to
implement best available control measures on up to 4.8 square miles of Owens Lake bed
that had not been previously ordered for control (contingency measures), which would
bring the total area of the Owens Lake bed under dust control to 53.4 square miles.
       In paragraph 2.B, the parties agreed to a procedure for deferring dust control
projects in areas containing significant Tribal cultural resources (cultural resources area).
It provided that the City “may submit an application to the [air pollution control officer]
to approve modifications to the City’s proposed project or measures on certain [cultural
resources areas].”4 It then required the District to consider and decide the City’s



3 Paragraph 2.E required the City to operate dust controls with approved best available
control measures upon completing the phase 9/10 project.
4 The air pollution control officer was employed by the District and worked to plan,
design, implement, and manage air pollution research and control projects for the Owens
Lake bed. He was also responsible for enforcing applicable air pollution control laws
within the District.

                                              5
application under procedures contained in 2013 Stipulated Abatement Order No. 130819-
01 (2013 abatement order). That abatement order, which concerned deferral procedures
for another phase of the Owens Lake bed dust control project, established a task force to
make nonbinding recommendations for the best course of action and timing for treatment
of areas with cultural resources, and a process for deferring controls while the task force
performed its work and for reordering controls by the District after considering the task
force’s recommendations.5
       The 2014 judgment also included what the District refers to as the parties’ “ ‘grand
bargain.’ ” In paragraph 3.B, the District agreed that, aside from the contingency
measures identified in paragraph 3.A, and any areas “re-ordered for control under
Paragraph 2.B of this Judgment, the District shall not issue any further orders for
mitigation measures to the City under Section 42316 or any other law . . . requiring the
City to control windblown dust emissions . . . from any areas on the dried Owens Lake
Bed beyond the combined 53.4 square miles.”
       In exchange for limits on the area of the Owens Lake bed that the District could
order for controls, paragraph 3.A provided in part: “[T]he City shall not appeal or contest
the [air pollution control officer’s] order for dust controls included in the combined 53.4
square miles now or in the future in any administrative or judicial forum, under any law,
statute or legal theory whatsoever including Section 42316.” Similarly, under paragraph
13.A: “The Parties stipulate and agree that all terms in the Stipulated Judgment are valid
and reasonable under Section 42316 and under any and all other laws. The City waives




5 Paragraph 3.A clarified that areas “deferred for controls under the procedures in
Paragraph 2.B because of the presence of significant cultural resources, then re-ordered
for controls per those procedures,” were not contingency measures described in that
paragraph. As we will discuss in greater detail post, the parties disagree about what dust
control measures the District is authorized to order the City to implement after an area
has been deferred and then reordered for control.

                                             6
any challenge to the terms of this Stipulated Judgment and shall not now or in the future
challenge or oppose the terms of this Stipulated Judgment in any administrative or
judicial forum, under any law, statute or legal theory whatsoever including but limited to
Section 42316.”6
        Finally, the 2014 judgment stated that the Sacramento County Superior Court
retained jurisdiction over the judgment, including the enforcement of its terms, and
authorized either party to file a motion to show a violation of or to enforce it. The parties
agreed, “the rights and remedies provided in this Stipulated Judgment shall be the sole
and exclusive rights and remedies surviving as between and among the Parties hereto
relating to the subject matter of this Stipulated Judgment.”
        2021 District Order
        The Sibi Patsiata-wae-tü area is an approximate five-acre area located within the
53.4 square miles of Owens Lake that had been designated for dust control measures,
partially under phases 9 and 10, and partially under a previous dust control phase.7 After
cultural resources were identified in the area, the District formed the task force under the
2013 abatement order, which recommended that the area be deferred for controls with
continued monitoring. In January 2018, the District approved the deferral and continued
monitoring for the portions of the Sibi Patsiata-wae-tü area designated for dust control
measures under phase 9 and 10.8 In approving the deferral, the District clarified that it




6 It appears that the parties unintentionally omitted the word “not” in that provision, such
that the sentence would have read, “. . . under any law, statute, or legal theory whatsoever
including but not limited to Section 42316.”
7 According to Phillip Kiddoo, the Air Pollution Control Officer for the District, Owens
Lake is known as Patsiata in the Paiute and Shoshone languages.
8 It approved deferral of the portion that had been ordered under a previous phase in
2015.

                                              7
would issue a new order for the City to implement dust controls if it determined that the
phase 9/10 portion of the Sibi Patsiata-wae-tü area was causing dust emissions exceeding
air quality standards. The District noted that the new order “may include the measures
recommended by the Tribes, or new measures that are considerate of the environmental
sensitivity of these areas, the need to protect air quality, and the need to conserve water
resources.”
       In 2021, the task force recommended dust control treatment in the Sibi Patsiata-
wae-tü area involving a “vegetation enhancement project.” On July 1, 2021, the District
issued the 2021 District order to implement dust control mitigation in the Sibi Patsiata-
wae-tü area that was consistent with the task force’s recommendation. The City did not
appeal the 2021 District order to the Board under section 42316.
       The City’s Refusal to Comply with the 2021 District Order
       In August 2021, the City wrote in a letter to the District that it would not begin
work on or undertake any project under the 2021 District order until the District
addressed certain specified issues. In December 2021, the District issued a notice to
comply with its order, and in January 2022, it issued a notice of violation for the City’s
failure to comply with the 2021 District order. The notice of violation asserted that the
City’s actions “violate the letter and spirit of the 2014 Stipulated Judgment.”
       On March 3, 2022, the City responded that the 2021 District order, the notice to
comply, and the notice of violation conflicted with the rules and procedures set forth in
the 2014 judgment, and requested that the District withdraw the 2021 District order and
rescind the notice of violation.
       On March 9, the District issued an order to pay the agreed upon penalties provided
for in the 2014 judgment, and it invited the City to meet and confer in an attempt to
resolve the dispute before it filed a motion to enforce that judgment.




                                              8
       The City’s Motion to Enforce the 2014 Judgment
       On April 6, 2022, the City filed a motion to enforce the 2014 judgment, requesting
that the trial court determine the 2021 District order was unenforceable under the 2014
judgment and that the imposition of included penalties was invalid. The City argued in
part that the District had failed to follow required procedures for reordering for controls
an area that had been deferred, and the District could not order it to implement dust
controls on deferred areas. Additionally, it asserted that as to the phase 9/10 areas, the
District was authorized to require the installation of only best available control measures
as defined in the 2014 judgment, and areas that were deferred and then reordered for
control reverted to their status as phase 9/10 areas. According to the City, the 2021
District order violated the 2014 judgment because it ordered a vegetation enhancement
project that was not a best available control measure. Finally, the City argued the
District’s order to pay was invalid because the City did not violate any of the provisions
in the 2014 judgment supporting civil penalties.
       The District responded that it appropriately developed procedures for reordering
controls on areas that had been deferred, and reordered controls as part of the phase 9/10
project under paragraph 2 of the 2014 judgment. It also argued that it was not required to
order only best available control measures. It pointed to paragraph 9 of the 2014
judgment, which directed it to “incorporate cultural and biological resource protection
and mitigation into dust control measure to the extent feasible,” and it asserted that none
of the current best available control measures were conducive to protection of cultural
resources. Additionally, paragraph 2.B recognized that it was authorized to “approve
modifications to the City’s proposed project or measures on certain areas that are
determined to contain significant cultural resources,” and the City had recognized with
respect to a previous phase that sensitive areas “may require ‘modified-[best available
control measures], or alternative non-[best available control measures] controls.’ ”



                                              9
       The District further argued that for areas that were deferred and then reordered for
control under paragraph 2.B of the 2014 judgment, the task force could make nonbinding
recommendations on the dust control measures to be applied to the area, and then the
District could exercise its discretion in ordering the City to implement the recommended
measures “as ‘reasonable measures’ under Section 42316, subdivision [(a)].” It added:
“The City does not have the ability to choose which dust control measures it wishes to
employ under [paragraph] 2.B. This allows the selection of a more sensitive way to
implement dust controls in those sensitive areas.”9
       As to agreed-upon penalties, the District argued such penalties were proper under
section 42402.2, which authorized civil penalties for violations of District orders, and
under the 2014 judgment.
       The parties also disagreed on whether the City had waived its challenges to the
2021 District order. The District argued that the City had failed to appeal the order to the
Board as required by section 42316, and the City waived all challenges to District orders
by agreeing to the 2014 judgment. The City responded that no appeal under section
42316 was required because its appeal procedures did not apply to dust control measures
ordered pursuant to the 2014 judgment. It also argued that it did not waive its right to
bring its motion by signing the 2014 judgment because the District failed to properly
follow procedures required to reorder controls, and therefore the Sibi Patsiata-wae-tü area
was not a dust control area subject to the terms of the 2014 judgment.
       The Trial Court’s First Ruling
       On September 27, 2022, the trial court denied the City’s motion to enforce the
2014 judgment. It addressed the parties’ disagreement as to what dust control measures
the District was authorized to order in a cultural resources area that had previously



9 The City argued that the District could only order “reasonable measures” under section
42316 on those portions of the lake bed not covered under the stipulated judgment.

                                             10
received the “deferred” designation, but was being taken out of “deferral” and reordered
for dust control. The court found that “the 2014 Stipulated Judgment is silent as to what
dust control measures the District may order when a portion of the Phase 9/10 area is
deferred and then removed from deferral,” and it found no evidence in the record that the
parties “ever actually ‘agreed’ on the treatment of this area at the time the 2014
Stipulated Judgment was entered.” Thus, the court concluded, “there was no mutual
agreement as to how a Phase 9/10 area deferred pursuant to Paragraph 2.B was to be
treated once deferral is no longer necessary and the area is ready to be ordered for dust
control measures.” Accordingly, the court held: “[T]he 2014 Stipulated Judgment is
unenforceable as to the Sibi Patsiata-wae-tü area because of its status as an area that was
deferred pursuant to Paragraph 2.B. The remainder of the 2014 Stipulated Judgment is
not impacted by this determination, and the Court makes no findings as to the legality or
enforceability of those provisions as such a determination would exceed the scope of the
instant motion.” (Footnote omitted.)
       The trial court then concluded that it did not need to address the City’s arguments
regarding the District’s order to pay because that order was unenforceable under the 2014
judgment based on its other conclusions. It reasoned: “The Order to Pay stems from the
2021 Order, which was issued pursuant to the District’s purported authority under the
2014 Stipulated Judgment to order dust control measures in the Sibi Patsiata-wae-tü area.
The Court has found unenforceable the 2014 Stipulated Judgment as it applies to the Sibi
Patsiata-wae-tü area given its status as an area that was deferred pursuant to Paragraph
2.B. Because the Order to Pay relies on the District’s ability to seek stipulated penalties
for violations of the 2014 Stipulated Judgment, the Order to Pay is now unenforceable.
The Court issues no opinion as to whether the City may be subject to civil penalties
pursuant to the Health and Safety Code for failing to comply with a valid order. Such a
determination would exceed the limited scope of the present motion.”



                                             11
       As to the District’s argument that the City waived its right to challenge any order
issued concerning the Sibi Patsiata-wae-tü area by agreeing to the 2014 judgment, the
court stated: “The Court has significant concerns about this position, as it would be
contrary to the public interest for a Court to determine a regulating body has unfettered
authority to order a public agency to take action in a certain geographic area because the
public agency had ostensibly waived all rights to argue such an order is illegal. In light
of the Court’s conclusions on this motion, the Court will not discuss these concerns
further.”
       The District gave notice of this ruling on September 28, 2022. It did not appeal or
seek reconsideration of the court’s first ruling.
       On October 5, 2022, the District sent a letter to the City acknowledging the court’s
order had concluded that agreed upon penalties under the 2014 judgment were an
improper remedy, but recognizing that the court “issued no opinion as to whether the City
may be subject to civil penalties under the Health and Safety Code for the City’s failure
to comply with a valid order.” Therefore, the District “require[d] the City to resolve the
pending [notice of violation]” by agreeing to comply with the 2021 District order, or it
would seek a court order for injunctive relief.10
       The District’s Motion to Enforce the 2014 Judgment
       On January 3, 2023, the District filed its own motion to enforce the 2014
judgment. It asserted that “the City still refuses to comply with the 2021 District Order”



10 On October 18, 2022, the District filed a lawsuit in Sacramento County, seeking to
force the City to comply with the 2021 District Order under section 42316 and seeking
statutory penalties (§§ 42402, 42403) and injunctive relief (§ 41513). The District’s
subsequent motion to enforce the stipulated judgment referred to this lawsuit as “City II.”
The next day, the City filed a writ in the Los Angeles County Superior Court, challenging
the District’s 2022 letter requiring it to resolve the notice of violation. The District’s
subsequent motion to enforce the stipulated judgment referred to this lawsuit as “City
III.”

                                              12
because it “misreads the Court’s September Ruling as granting, not denying its motion.
The City says the Court held the 2021 District order was unenforceable under the 2014
Stipulated Judgment.”
       The District provided three reasons why the Court should enforce the 2014
judgment against the City. First, it asked the trial court to “address the City[’s]
misstatement of the Court’s September Ruling, and reiterate (although it should not have
to) that the City’s motion was denied, and that the 2021 District Order remains valid and
enforceable under Section 42316.”
       Second, it recognized that the trial court’s first ruling had “ ‘expressed significant
concerns’ ” about the District’s position that the City had waived its right to challenge
District orders by entering into the 2014 judgment, but noted that the first ruling did not
invalidate that provision of the 2014 judgment. Accordingly, the District submitted
declarations with its motion to “provide context and to confirm the meaning of [the 2014
judgment’s] terms.”
       Third, the District argued that “the City’s failure to timely appeal the 2021 District
Order [to the Board] also waive[d] its challenges to [the] reasonableness or validity of
that Order.”
       In opposition, the City argued in part that the District’s motion was an untimely
and improper motion for reconsideration of the trial court’s first ruling, the District’s
claims were barred by claim preclusion because it did not timely appeal the court’s first
ruling, its arguments requested that the court act in excess of the court’s jurisdiction, its
arguments improperly sought an advisory opinion, it sought rulings on issues pending in
other courts, and its interpretation of the waiver provisions in the 2014 judgment was
void as against public policy.
       The Trial Court’s Second Ruling
       In advance of a hearing, the trial court issued a tentative ruling denying the
District’s motion. The tentative ruling incorporated the court’s first ruling, which the

                                              13
court summarized as determining that “ ‘the 2014 Stipulated Judgment is unenforceable
as to the Sibi Patsiata-wae-tü area because of its status as an area that was deferred
pursuant to Paragraph 2.B.’ ”
       Characterizing the District’s motion as asking it to enforce the 2014 judgment and
to order the City to comply with the 2021 District order to implement dust control
mitigation in the Sibi Patsiata-wae-tü area, the court denied the motion “based on the
detailed analysis and reasons in the Court’s September 27, 2022[,] order determining that
the 2014 Stipulated Judgment is not enforceable as to the Sibi Patsiata-wae-tü area.”
       Turning to the District’s argument that the City waived its right to contest the 2021
District Order, the trial court reiterated its conclusion from the first ruling that that issue
“was not an issue before this Court as previously stated by the Court, and it is not
properly before the Court in this Motion to Enforce the 2014 Stipulated Judgment.” The
court clarified that its previous order did not opine as to the enforceability of the 2021
District order, but rather concluded that “the 2014 Stipulated Judgment is not enforceable
as to the Sibi Patsiata-wae-tü area, for the reasons stated” in its first ruling. The court
noted that it made no further findings about other provisions of the 2014 judgment.
       Finally, the tentative ruling declined to address other arguments raised by the
parties, “as these arguments effectively constitute a motion for reconsideration pursuant
to Code of Civil Procedure section 1008,”11 and therefore were untimely.
       On February 27, 2023, after the hearing, the trial court issued its final ruling. The
court noted the District’s argument at the hearing that its motion was not a motion for
reconsideration because it was seeking to have the court enforce the “ ‘grand



11 Code of Civil Procedure section 1008 provides in part: “[A]ny party affected by [a
court] order may, within 10 days after service upon the party of written notice of entry of
the order and based upon new or different facts, circumstances, or law, make application
to the same judge or court that made the order, to reconsider the matter and modify,
amend, or revoke the prior order.”

                                               14
bargain’ agreed to by the parties in the 2014 Stipulated Judgment,” which was an issue
that was not addressed by the court’s first ruling. The court disagreed: “The problem
with the District’s argument, however, is that the District seeks to have the ‘grand
bargain’ enforced as to the Sibi Patsiata-wae-tü area, when this Court has already
concluded that the terms of the 2014 Stipulated Judgment, including the ‘grand bargain’
cannot apply to that area.”
         Next, the court observed that the District “goes further by asking this Court to
opine as to whether . . . section 42316 provides legal authority for the District’s 2021
order relating to the Sibi Patsiata-wae-tü area, and to determine that the stipulated
judgment is a valid waiver of the City’s ability to challenge the [2021 District order].” It
concluded that the District was “seeking to have this Court, under the auspices of this
Motion, render an improper advisory opinion as to matters which are beyond even the
continuing jurisdiction of this Court.” Accordingly, it held: “Simply put, the 2021
[District] Order only concerns implementing dust control mitigation in the Sibi Patsiata-
wae-tü area. Once, [sic] this Court decided that the 2014 Stipulated Judgment could not
apply to the Sibi Patsiata-wae-tü area, for the detailed reasons provided in the Court’s
Ruling on Submitted Matter issued on September 27, 2022, the Court necessarily had to
decline to further address specific provisions of the 2014 Stipulated Judgment as to this
area. This includes the parameters of the District’s statutory authority under Section
42316 and any waivers by the City, as well as the provisions in Paragraphs 3A. [sic] and
3B, or what the District refers to as the parties’ ‘grand bargain.’ [¶] The motion is
DENIED. Moreover, if construed as a Motion for Reconsideration, the Court denies it as
untimely.” (Boldface omitted.) In a footnote at the end of the last sentence of the order,
the court noted that, “[f]or example,” the District had filed a declaration intended to
provide the court with new information about the parties’ intent in negotiating the 2014
judgment, which was “plainly an attempt to persuade the Court to reconsider” its first
order.

                                              15
       The District appealed. The case was fully briefed in May 2024, assigned to the
current panel at the end of that month, and argued and submitted on August 20, 2024.
                                       DISCUSSION
                                               I
                                        Appealability
       The City argues that the District’s appeal must be dismissed because the trial
court’s order denying the District’s motion to enforce the 2014 judgment was a
nonappealable order denying an untimely motion for reconsideration. We agree.12
       A. Legal Background
       Code of Civil Procedure, section 1008 represents the Legislature’s attempt to
regulate what the Supreme Court has referred to as “repetitive motions” (Le Francois v.
Goel (2005) 35 Cal.4th 1094, 1103, 1104), and is “designed to conserve the court’s
resources by constraining litigants who would attempt to bring the same motion over and
over” (Darling, Hall &amp; Rae v. Kritt (1999) 75 Cal.App.4th 1148, 1157). Subdivision (a)
of Code of Civil Procedure section 1008 provides in pertinent part: “[A]ny party affected
by [a court] order may, within 10 days after service upon the party of written notice of




12 The District requests judicial notice of the Board’s decision on the City’s appeal of the
notice of violation, and the City’s subsequent petition for administrative writ of
mandamus, filed in Los Angeles County Superior Court. We deny the District’s request.
First, the requested material was filed after the trial court’s second ruling in this case, and
therefore we are not required to take judicial notice of the material. (Evid. Code, § 459,
subd. (a).) Second, we “may decline to take judicial notice of matters not relevant to
dispositive issues on appeal.” (Guarantee Forklift, Inc. v. Capacity of Texas, Inc. (2017)
11 Cal.App.5th 1066, 1075.) The District argues that the material is relevant to this
appeal because it includes the Board’s interpretation of section 42316, the proper
procedures to appeal a District order under that section, and the consequences for failing
to file a timely appeal. But as we will discuss in greater detail post, the issue before us is
whether the District is appealing from an appealable order. The material submitted by
the District regarding the City’s appeal to the Board of the notice of violation under
section 42316 has no bearing on our determination.

                                              16
entry of the order and based upon new or different facts, circumstances, or law, make
application to the same judge or court that made the order, to reconsider the matter and
modify, amend, or revoke the prior order.” The statute is jurisdictional (Code Civ. Proc.,
§ 1008, subd. (e)), and therefore a trial court acts in excess of its jurisdiction in granting a
motion for reconsideration if untimely filed. (Garcia v. Hejmadi (1997) 58 Cal.App.4th
674, 690-691; G.R. v. Intelligator (2010) 185 Cal.App.4th 606, 622.)
       In determining whether a motion is properly construed as a motion for
reconsideration, “a trial court may construe a motion bearing one label as a different type
of motion.” (Sole Energy Co. v. Petrominerals Corp. (2005) 128 Cal.App.4th 187, 193.)
“ ‘The nature of a motion is determined by the nature of the relief sought, not by the label
attached to it. The law is not a mere game of words.’ ” (Ibid.; accord, California
Correctional Peace Officers Assn. v. Virga (2010) 181 Cal.App.4th 30, 43 [second
motion seeking identical relief to a previous motion is motion seeking reconsideration].)
Thus, “[t]he name of a motion is not controlling, and, regardless of the name, a motion
asking the trial court to decide the same matter previously ruled on is a motion for
reconsideration under Code of Civil Procedure section 1008.” (Powell v. County of
Orange (2011) 197 Cal.App.4th 1573, 1577 [motion asking the court “to decide again”
whether to set aside the dismissal judgment is a motion for reconsideration]; see
Escamilla v. Department of Corrections &amp; Rehabilitation (2006) 141 Cal.App.4th 498,
511 [“[T]he true nature of a petition or cause of action is based on the facts alleged and
remedy sought in that pleading”]; Curtin v. Koskey (1991) 231 Cal.App.3d 873, 878
[regardless of motion’s title, to the extent it raises the same issues previously ruled upon,
it is a motion for reconsideration]; David S. Karton, a Law Corp. v. Musick, Peeler
Garrett LLP (2022) 83 Cal.App.5th 1027, 1049 [no perceivable difference between a
motion to “ ‘seek re-examination of the trial court’s legal conclusions’ ” and the
“ ‘reconsider[ation of] the matter’ ” contemplated under Code Civ. Proc., § 1008, subd.
(a)]; but see Standard Microsystems Corp. v. Winbond Electronics Corp. (2009) 179

                                              17
Cal.App.4th 868, 889, 890-891 (Standard Microsystems) [a motion is not a motion for
reconsideration if it rests on entirely different factual and legal predicates than the
previous motion], disapproved of on other grounds by Even Zohar Construction &amp;
Remodeling, Inc. v. Bellaire Townhouses, LLC (2015) 61 Cal.4th 830.)
       The denial of a motion for reconsideration is not a separately appealable order.
(Code Civ. Proc., § 1008, subd. (g); Young v. Tri-City Healthcare Dist. (2012) 210
Cal.App.4th 35, 51.) That well-established rule “exists ‘ “to eliminate the possibilities
that (1) a nonappealable order or judgment would be made appealable, (2) a party would
have two appeals from the same decision, and (3) a party would obtain an unwarranted
extension of time to appeal.” ’ ” (Westmoreland v. Kindercare Education LLC (2023) 90
Cal.App.5th 967, 974.) Further, “[b]ecause an appealable judgment or order is essential
to appellate jurisdiction, the appellate court must consider the question of appealability
sua sponte, and dismiss the appeal if the judgment or order is found to be nonappealable.”
(People v. Clark (2021) 67 Cal.App.5th 248, 254.) Thus, in determining whether an
order is appealable, “it is not the label but rather the substance and effect of a court’s
judgment or order which determines whether or not it is appealable.” (In re Marriage of
Loya (1987) 189 Cal.App.3d 1636, 1638; Dana Point Safe Harbor Collective v. Superior
Court (2010) 51 Cal.4th 1, 5 [“ ‘ “It is not the form of the decree but the substance and
effect of the adjudication which is determinative” ’ ”]; Joyce v. Black (1990) 217
Cal.App.3d 318, 321 [“The substance and effect of the order, not its label or form,
determines whether it is appealable” ]; Orton v. Daigler (1932) 120 Cal.App. 448, 450
[“The character of the document, whether it be an order or a judgment, may not be
determined except by the substance and effect of its provisions”].)
       Indeed, appellate courts may, where “ ‘extremely good cause’ ” exists, construe
one type of motion to instead be a different type of motion, one that is different than the
title assigned to it by its filer. (See 20th Century Ins. Co. v. Superior Court (2001) 90
Cal.App.4th 1247, 1261; Passavanti v. Williams (1990) 225 Cal.App.3d 1602, 1610.)

                                              18
“Extremely good cause” exists where, as here, the court must first decide whether an
order stemming from such motion is appealable, which informs whether we have
jurisdiction to review it. (See Lavine v. Jessup (1957) 48 Cal.2d 611, 613 [“no appeal
can be taken except from an appealable order or judgment, as defined in the statutes and
developed by the case law”].) Thus, there is extremely good cause to independently
determine the precise nature of the District’s motion, no matter its title, to decide whether
it actually constitutes a motion for reconsideration, the denial of which would result in a
nonappealable order. (See Daugherty v. City and County of San Francisco (2018) 24
Cal.App.5th 928, 942 [appealable judgment essential to appellate jurisdiction; court must
dismiss appeal from a nonappealable order]; Olson v. Cory (1983) 35 Cal.3d 390, 398
[court is “dutybound” to consider the question of appellate jurisdiction on its own
motion]; Olmstead v. West (1960) 177 Cal.App.2d 652, 654-655 [“[I]t is the duty of an
appellate court on its own motion to dismiss an appeal from a judgment which is not
appealable”].)
       B. Analysis
       The City argues that the District’s appeal must be dismissed because its motion “to
enforce the 2014 stipulated judgment” was in fact an untimely and unappealable motion
for reconsideration of the trial court’s first ruling, aptly described as such by the trial
court when it denied the motion in its second ruling. The District responds that the
court’s second ruling did not simply conclude that the its motion was an untimely motion
for reconsideration, but rather created three categories for its arguments: (1) arguments
the court concluded should have been raised in a motion for reconsideration;
(2) arguments the court denied “based upon the detailed analysis and reasons” in the
court’s first order; and (3) arguments the court declined to reach or rule upon in either
party’s motion to enforce the 2014 judgment.




                                               19
       As we next explain, we agree with the City. The District’s motion sought to
enforce the 2014 judgment as to the Sibi Patsiata-wae-tü area on bases that were
addressed by the trial court’s first ruling, and the substance and effect of the trial court’s
second ruling was to deny the District’s motion on the basis that it had already ruled on
the arguments raised. In other words, the District’s motion sought, by “sly evasion, a
determination contrary to [a] determination made in the first order.” (Standard
Microsystems, supra, 179 Cal.App.4th at p. 891.) We turn to an examination of the
arguments raised by the District’s motion, and the trial court’s first and second rulings.
       The District’s first argument in support of its motion to enforce the 2014 judgment
asked the trial court to “reiterate . . . that the 2021 District Order remains valid and
enforceable under Section 42316.” But while this argument ostensibly requested that the
court “reiterate” its conclusion from its first ruling, it actually requested that the court
rule on an issue the court had already determined was beyond the scope of a motion to
enforce the 2014 judgment.
       As the District recognized in its motion, the trial court’s first ruling concluded that
the 2014 judgment was unenforceable as to the Sibi Patsiata-wae-tü area, and based on
that conclusion, the court “issue[d] no opinion as to whether the City may be subject to
civil penalties pursuant to the Health and Safety Code for failing to comply with a valid
order,” noting that “[s]uch a determination would exceed the limited scope of the present
motion.” The court’s second ruling clarified that once it had determined in the first ruling
that the 2014 judgment was unenforceable as to the Sibi Patsiata-wae-tü area, it
“necessarily had to decline to further address specific provisions of the 2014 Stipulated
Judgment as to this area. This includes the parameters of the District’s statutory authority
under Section 42316 . . . .” In other words, the court’s second ruling only “clarified” that
it had already determined in the first ruling that it could not grant the relief the District
requested.



                                               20
       The trial court’s second ruling concluded that the District’s argument requested
the court “to render an improper advisory opinion as to matters which are beyond even
the continuing jurisdiction of this Court.” Although the court did not expressly conclude
that the District’s request constituted a motion for reconsideration, that is what it was.
The District sought to have the court revisit a conclusion it had already reached in its first
ruling, and reach a different conclusion. Accordingly, the District’s argument “ask[ed]
the trial court to decide the same matter previously ruled on” in the order denying the
City’s motion to enforce the 2014 judgment. (Powell v. County of Orange, supra, 197
Cal.App.4th at p. 1577; cf. Curtin v. Koskey, supra, 231 Cal.App.3d at p. 878 [regardless
of motion’s title, to the extent it raises the same issues previously ruled upon, it is a
motion for reconsideration].) As such, it was a request for reconsideration.
       The second argument raised by the District in its motion to enforce the 2014
judgment requested that the trial court enforce the parties’ “ ‘grand bargain,’ ” in which
the City agreed to not challenge District orders to implement dust mitigation controls at
Owens Lake, and the District agreed to limit the area in which it could order the City to
implement dust control measures. The District’s motion recognized that the trial court’s
first ruling had “expressed its concern” about the District’s position that the City waived
its right to appeal or challenge District orders by signing the 2014 judgment, and it sought
to address the court’s concerns.
       Because the trial court’s first ruling concluded that the 2014 judgment was
unenforceable as to the Sibi Patsiata-wae-tü area, the court concluded in a footnote that it
did not need to address the merits of the District’s waiver argument. During the hearing
on the District’s motion, the court elaborated on its first ruling: “But what I found was
that the dispute involving the Sibi [Patsiata-wae-tü] area wasn’t covered by the stipulated
judgment. So if it is not covered by the stipulated judgment, whether the City waived its
right to contest the 2021 [District] order addressing that area, I couldn’t deal with it
anyway.” It added: “If what I found is beyond the Court’s jurisdiction, if parties never

                                              21
agreed on what the treatment of that area would be, then what remedies, what rights the
parties have with respect to that area was surely beyond the Court’s authority to opine.
[¶] And that’s what the purpose of that footnote was is everything having to do -- every
dispute having to do with that area, the parties’ respective rights and remedies under the
stipulated judgment was beyond the Court’s authority to opine on because they found
there was no meeting of the minds. [¶] So if we are talking about enforcing a judgment
or any agreement when there is no meeting of the minds, everything falls away, including
what the parties’ respective remedies might be with respect to the disputed terms of any
agreement. That’s the purpose of the Court’s footnote there.” Consistent with its
discussion of the issue during the hearing, the trial court’s second ruling refused to
enforce the parties’ “grand bargain.” The court observed that once it determined the
2014 judgment “could not apply to the Sibi Patsiata-wae-tü area,” it “necessarily had to
decline to further address specific provisions of the 2014 Stipulated Judgment as to this
area,” including “any waivers by the City.”
       Similar to the District’s first argument, its request that the trial court enforce the
parties’ grand bargain was merely a request that the trial court revisit its first ruling,
where the court had concluded that it could not reach the issue, and rule instead that it
could indeed reach the issue (and then rule in the District’s favor). As with the District’s
first argument, this argument was simply a request that the trial court reconsider its first
ruling, and change its mind.
       The District’s third argument contended the City failed to appeal the 2021 District
Order to the Board as required by section 42316, subdivision (b), and accordingly the
City had waived its right to appeal even in the absence of the express waivers provided
for in the 2014 judgment. The District raised this argument in opposition to the City’s
motion to enforce the 2014 judgment, and the trial court’s first ruling noted that the
parties raised “[n]umerous arguments . . . that go beyond the issue of whether the District
is in violation of the 2014 Stipulated Judgment.” The court declined to address those

                                               22
arguments because, as we have discussed, its continuing jurisdiction was limited to
enforcing the 2014 judgment, and the issue of the City’s compliance with other statutory
requirements was beyond the scope of that motion.
         In its second ruling, the court reiterated that once it had determined in the first
ruling that the 2014 judgment was unenforceable as to the Sibi Patsiata-wae-tü area, “the
Court necessarily had to decline to further address” “the parameters of the District’s
statutory authority under Section 42316 and any waivers by the City.” Accordingly, it
refused the District’s invitation to issue an improper advisory opinion ruling on an issue
not properly before the court, as it implicitly did in its first ruling. That conclusion was
no different than the conclusion the court reached in its first ruling. Because the
District’s argument asked the trial court to reach a different conclusion on an issue it had
already addressed, the District’s argument sought reconsideration of the trial court’s first
order.
         Disagreeing with the foregoing analysis, the District argues that the trial court did
not deny its motion in its entirety on the basis that it was an untimely motion for
reconsideration. It points to the trial court’s conclusion: “Moreover, if construed as a
Motion for Reconsideration, the Court denies it as untimely,” after which the trial court
provided an example in a footnote of an argument it observed was “plainly an attempt to
persuade the Court to reconsider its [first order].” That footnote observed that the
District filed a declaration in support of its motion that purported to provide the court
with new information about the parties’ intent in negotiating the 2014 judgment, and
whether the parties agreed to procedures for deferring and reordering controls in areas
where sensitive cultural resources may be present. As quoted above, the court concluded
the declaration was an attempt to persuade it to reconsider its previous order.




                                                23
       As we have discussed, we are tasked with determining whether we have
jurisdiction to consider the District’s appeal. In doing so, we have analyzed the
conclusions the trial court reached in its first ruling and the relief sought by the District in
its motion to enforce the 2014 judgment. We have determined that the District’s motion
“to enforce the 2014 stipulated judgment” raised the same issues the court had previously
ruled upon, for the (at times express) purpose of requesting that the court change its prior
conclusions. Indeed, in rejecting the District’s various arguments in its second ruling, the
court summarized and reiterated the conclusions it reached in its first ruling and observed
that the first ruling had already rejected the arguments raised in the District’s motion.
       Finally, the District also argues that it was not required to appeal a judgment in its
favor or file a motion for reconsideration of a ruling in which it prevailed. But our
conclusion is not that these things were required of the District. We are not called upon
to decide whether the District was required to appeal the trial court’s first ruling, or file a
motion requesting that the court reconsider that ruling. Rather, the issue before us is
whether the District’s motion to enforce the 2014 judgment was properly construed as a
motion for reconsideration of the trial court’s first ruling and, if so, whether the District’s
appeal from that court’s second ruling must be dismissed as from a nonappealable order.
Because we conclude the District’s motion “to enforce the 2014 stipulated judgment,”
denied by the trial court in the order that formed the basis of this appeal, was in fact a
motion for reconsideration, it follows that the District’s appeal is from a nonappealable
order and must be dismissed.




                                              24
                                        DISPOSITION
       The District’s appeal is dismissed. The City shall recover its costs on appeal.
(Cal. Rules of Court, rule 8.278(a).)




                                                   /s/
                                                  Duarte, J.



We concur:



 /s/
Earl, P. J.



 /s/
Wiseman, J.




 Retired Associate Justice of the Court of Appeal, Fifth Appellate District, assigned by
the Chief Justice pursuant to article VI, section 6 of the California Constitution.

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